WKS (12/1/09) jd                            UNITED STATES BANKRUPTCY COURT
                                                     District of Oregon
In re                                                                   )
 Gerald G. Monckton Jr                                                  ) Case No. 11−31792−rld13
 Agustina L. Monckton                                                   )
                                                                        ) 341(a) WORKSHEET
Debtor(s)                                                               )
                                                                        ) First Meeting Date: 4/12/11
                                                                        )
                                                                        )
                                                                        )
Debtor's Address:          1730 SW 203rd Avenue                   Jt. Debtor's Address:    1730 SW 203rd Avenue
                           Aloha, OR 97006                                                 Aloha, OR 97006

Attorney: TED A TROUTMAN                                          Trustee: Wayne Godare

FAILED To Complete §341(a) Mtg: ( )Debtor ( )JT Debtor(Wife) ( ) ATTY;           AND THEREFORE
the TRUSTEE STATES THAT (CHECK at least ONE AND ALL that apply);
       ( ) No further examination required of joint debtor who failed to complete meeting.

       ( ) Commencement of dismissal procedure is appropriate.

       ( ) Within 14 days trustee will submit form #750.3 (re: no dismissal).

       ( ) Debtor(s) did not produce proper I.D. at/before continued hrg − UST should file motion.

       ( ) 341 adjourned as further examination required by ( ) trustee ( ) creditor:________________.

       ( ) Notice was given to all that 341 mtg adjourned to _____(time), on ___________(date),

       at the location of ______________________________ FOR THE REASON THAT:

       ____________________________________________________________________
        (NOTE: TRUSTEE ANNOUNCED NO WRITTEN NOTICE OF ADJOURNMENT WILL BE GIVEN, except to the debtor(s)
                              and debtor(s)' attorney, by the clerk, if neither were present.)
       ( ) Notice of adjourned 341 mtg. required BECAUSE ______________________________________,
       could NOT be announced BECAUSE __________________________________________________________.

( ) Debtor's Change of Address:                                       ( ) Jt. Debtor's Change of Address:



                                                   PERSONS ATTENDING MEETING

PRINT Your Name                                                       PRINT Name of Person or Business You Represent
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                                 Case 11-31792-pcm7              Doc 6-2        Filed 03/08/11
